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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
Warren N Barr III, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 21, 2018:


       MINUTE entry before the Honorable Charles R. Norgle as to Warren N. Barr III:
Motion to modify conditions of release [271] is granted in part and denied in part. Motion
hearing held on 9/21/2018. Mailed notice (ewf, )




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